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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES                           )
                                        ) CR 4-359
                                        )
      v.                                )
                                        )
MAURICE WATKINS                         )




                                          OPINION

                                         SYNOPSIS

      In March 2006, Defendant pleaded guilty to one count of violating 21 U.S.C. §§

846 and 841(a)(1) and (b)(1)(A). The Honorable Gustave Diamond thereafter sentenced

him to a term of imprisonment of 262 months, followed by a five-year term of supervised

release. (ECF 152) Defendant is presently housed at FCI McKean. Per Inmate Locator,

his projected release date is November 15, 2023. Defendant has filed a pro se Motion

seeking home confinement or compassionate release pursuant to 18 U.S.C. § 3582,

along with certain records. (ECF 353) An attorney was appointed to supplement the

Defendant’s pro se submission. (ECF 356) Ultimately, a counseled Motion was not filed.

Rather, the appointed attorney filed a Response to Pro Se Motion for Release. (ECF

365) Counsel represented that an Amended Petition was unwarranted and moved the

Court to rule on the merits of the pro se filing. The Government has responded. (ECF

371) For the following reasons, Defendant’s Motion will be denied.

                                         ANALYSIS

      A court may reduce a term of imprisonment pursuant to 18 U.S.C. § 3582 if,

having determined that the defendant has exhausted his administrative remedies, and

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after considering the factors set forth in 18 U.S.C. § 3553(a), the court determines that

“extraordinary and compelling reasons warrant the reduction.” U.S.S.G. § 1B1.13.1

According to pertinent application notes, circumstances that might constitute

extraordinary and compelling reasons include "a serious physical or medical condition."

Id. at comment. n. 1(A), (C). In addition, any reduction in sentence must be “consistent

with applicable policy statements issued by the Sentencing Commission," 18 U.S.C. §

3582(c)(1)(A). “Extraordinary and compelling reasons” may exist based on the

defendant’s serious physical or medical condition, if that condition substantially

diminishes his ability to provide self-care within the correctional facility environment and

from which he is not expected to recover. U.S.S.G. § 1B1.13, comment. n. 1(A)(ii)). To

merit compassionate release, Defendant must show more than concerns about possibly

being exposed to or contracting the virus. See, e.g., United States v. Kealoha, No. 17-

00555, 2020 U.S. Dist. LEXIS 117698, at *17 (D. Haw. July 6, 2020). Similarly, “the fact

that COVID-19 is present in a correctional facility is not alone sufficient to qualify an

inmate for compassionate release ….” United States v. Rader, No. 17-0089, 2020 U.S.

Dist. LEXIS 128835, at *8 (D. Md. July 22, 2020). In addition to these principles,

Defendant’s Motion will be assessed in light of well-established liberal standards

applicable to pro se filings.

        In this case, Defendant asserts that he suffers from obesity and a BMI of 35.6

and hypertension. According to the Centers for Disease Control, people who suffer

from obesity are at an increased risk of severe illness from the virus that causes

COVID-19. www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-


1While the Sentencing Commission’s policy statement is not dispositive, it constitutes “helpful guidance.”
Doolittle, 2020 U.S. Dist. LEXIS 127801, at *6.

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medical-conditions.html (accessed April 26, 2021). CDC guidance defines obesity as

having a body mass index (BMI) of 30 or higher. The Defendant has attached medical

records which include a notation of a BMI of 35.6 and the date of 4/27/2018. (ECF 353,

Exhibit 1) The Defendant’s BMI falls within the CDC’s definition of obesity.

       However, the Government has provided proof that the Defendant has been fully

vaccinated. (ECF 371, Ex. 1) The Defendant received the second dose of the Pfizer

vaccine in March 2021. The CDC explains that people are considered to be fully

vaccinated two weeks after they have received the second dose in a 2-dose series. See

Guidance for Fully Vaccinated People, CENTERS FOR DISEASE CONROL AND

PREVENTION (updated Apr. 2, 2021), https://www.cdc.gov/coronavirus/2019-

ncov/vaccines/fully-vaccinated-guidance.html 2 According to the CDC, the Pfizer

vaccine is “95% effective at preventing laboratory-confirmed COVID-19 illness in people

without evidence of previous infection.” CDC, Information about the Pfizer-BioNTech

COVID-19 Vaccine, https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-

vaccines/Pfizer-BioNTech.html. Having been vaccinated, the Defendant “now has

significant protection against serious illness or death should he contract COVID-19.”

United States v. Singh, Crim. No. 15-28, 2021 WL 92870, at * 3 (M.D. Pa. Mar. 11,

2021). As such, I am persuaded by the Government’s argument that the administration

of an effective COVID-19 vaccine lessens the risk of serious illness or death from a

COVID-19 infection. See also, United States v. Hannigan, Crim. No. 19-373, 2021 WL



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 According to the CDC, “currently authorized vaccines in the United States are highly effective
at protecting vaccinated people against symptomatic and severe COVID-19. Additionally,
a growing body of evidence suggests that fully vaccinated people are less likely to have
asymptomatic infection and potentially less likely to transmit SARS-CoV-2 to others.” See
Guidance for Fully Vaccinated People.
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1599707, at * 5-6 (E.D. Pa. April 22, 2021) (“Each of the authorized COVID-19 vaccines

are highly effective at protecting vaccinated people against symptomatic and severe

COVID-19.”), United States v. Roper, Crim. No. 16-335, 2021 WL 963583, at * 4 (E.D.

Pa. Mar. 15, 2021) (concluding that a defendant who has been inoculated with the

Moderna vaccine does not have a risk of severe illness and therefore does not present

an extraordinary and compelling reason for release), and United States v. Stiver, Crim.

No. 17-64, 2021 WL 1110593, at * 1 (W.D. Pa. Mar. 23, 2021) (given the defendant’s

Pfizer vaccination, he cannot demonstrate an extraordinary and compelling reason for

release). As have other courts, I recognize that the “COVID-19 situation is always-

changing and that it is unclear how emerging COVID-19 variants will alter vaccine

efficacy over time.” Hannigan, 2021 WL 1599707 at * 5. As of now, however, the CDC

indicates that the Defendant has significant protection against serious illness due to his

vaccination. Consequently, I find that the Defendant has not demonstrated extraordinary

and compelling reasons for release and I need not continue in my analysis. If the

scientific information on the protection offered by vaccinations changes, the Defendant

is free to file a renewed Motion. Because he cannot demonstrate extraordinary and

compelling reasons supporting release at this time, the Motion is denied.

                                          BY THE COURT:



                                          _____________________________

                                          Donetta W. Ambrose
                                          Senior Judge, U.S. District Court
       Dated: April 27, 2021




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